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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
JOHN DOE,                                     )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Case No. 18-cv-553 (RMC)
                                              )
THE GEORGE WASHINGTON                         )
UNIVERSITY,                                   )
                                              )
                Defendant.                    )
                                              )

                                             ORDER

                For the reasons articulated in the Memorandum Opinion issued

contemporaneously with this Order, it is hereby

                ORDERED that Mr. Doe’s Motion for Partial Summary Judgment, Dkt. 27, is

GRANTED; and it is

                FURTHER ORDERED that, consistent with Article 34 of the University’s Code

of Student Conduct as interpreted by the Court, Mr. Doe’s appeal shall be reviewed on the merits

by an appellate panel; and it is

                FURTHER ORDERED that Mr. Doe be permitted to present to the appellate

panel the evidence in his original appeal as well as the E.E. phone records; and it is

                FURTHER ORDERED that the University must ensure that the appellate panel

convene and reach a decision by no later than September 12, 2018.



Date: August 14, 2018
                                                      ROSEMARY M. COLLYER
                                                      United States District Judge



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